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        EXHIBIT 49
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  From:    YouTube Copyright youtube-d sputes+0cqxzxtj1gw2k07@goog e.com
Subject:   YouTube Copyr ght Comp a nt Subm ss on
   Date:   January 9, 2023 at 5:28 AM
     To:   Mar aSchne derOrch@gma .com
    Cc:    mar aschne der@mac.com




             Hi Maria Schneider,

             We require a more detailed description of your copyrighted work. We won't be able
             to process your request until you have provided us with this information.

             We encourage you to provide whatever specifics you feel will be most useful.
             Information such as the title of the work, the type of work, its author’s name, the
             date of creation of the work, a copyright registration number (if the work is
             registered), and/or the specific timestamps at which your work appears in the video
             in question will greatly assist us in processing your request.

             Thank you very much for your cooperation.

             - The YouTube Team

             Here is the information you filled in:

               Copyright Owner Name (Company Name if applicable): Maria Schneider
               Your Full Legal Name (Aliases, usernames or initials not accepted): Maria
             Schneider
               Your Title or Job Position (What is your authority to make this complaint?):
             composer
               Address:




               Username:
               Email Address:
               Secondary Email Address:
               Phone:

               URL of allegedly infringing video to be removed:
             https://www.youtube.com/watch?v=4MfGR9AUd78
               Describe the work allegedly infringed: My original song

                    Title of original song: Bird Count
                    Where does the content appear? Entire video


               URL of allegedly infringing video to be removed:
             https://www.youtube.com/watch?v=6RQ7PesFy0k
               Describe the work allegedly infringed: My original song
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                        g     y     g      y   g        g

      Title of original song: Green Piece
      Where does the content appear? Entire video


  URL of allegedly infringing video to be removed:
https://www.youtube.com/watch?v=hVBbzKWVHeY
  Describe the work allegedly infringed: My original song

      Title of original song: Gumba Blue
      Where does the content appear? Entire video


  URL of allegedly infringing video to be removed:
https://www.youtube.com/watch?v=pZsCfgHOCmA
  Describe the work allegedly infringed: My original song

      Title of original song: Dance You Monster To My Soft Song
      Where does the content appear? Entire video



  Country where copyright applies: US
  I state UNDER PENALTY OF PERJURY that:

      I am the owner, or an agent authorized to act on behalf of the owner of an
      exclusive right that is allegedly infringed.
      I have a good faith belief that the use of the material in the manner
      complained of is not authorized by the copyright owner, its agent, or the law;
      and
      This notification is accurate.
      I acknowledge that under Section 512(f) of the DMCA any person who
      knowingly materially misrepresents that material or activity is infringing may
      be subject to liability for damages.
      I understand that abuse of this tool will result in termination of my YouTube
      channel.

  Authorized Signature: Maria Schneider

Help Center • Email Options

You received this email to provide information and updates around your YouTube
channel or account.



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  From:    mar aschne der@mac.com
Subject:   Re: YouTube Copyr ght Comp a nt Subm ss on
   Date:   January 9, 2023 at 12:13 PM
     To:   YouTube Copyr ght youtube-d sputes+0cqxzxtj1gw2k07@goog e.com


      To Whom It May Concern:

      The titles and types of the works were provided below, as were the specific timestamps
      because I stated that the entirety of each video included my copyrighted works. I am the
      sole author of each of the compositions identified by title below and performed in the
      videos. "Bird Count" was created in 1985 with registration number PAu001628589. "Green
      Piece" was created in 1987 with registration number PAu001628590. "Gumba Blue" was
      created in 1984 with registration number PAu001275028. "Dance You Monster to My Soft
      Song" was created in 1991 with registration number PAu001628585.

      Maria Schneider
           On Jan 9, 2023, at 5:28 AM, YouTube Copyright <youtube-disputes+0cqxzxtj1gw2k07@google.com> wrote:




               Hi Maria Schneider,

               We require a more detailed description of your copyrighted work. We won't be able
               to process your request until you have provided us with this information.

               We encourage you to provide whatever specifics you feel will be most useful.
               Information such as the title of the work, the type of work, its author’s name, the
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               - The YouTube Team

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                 Copyright Owner Name (Company Name if applicable): Maria Schneider
                 Your Full Legal Name (Aliases, usernames or initials not accepted): Maria
               Schneider
                 Your Title or Job Position (What is your authority to make this complaint?):
               composer
                 Address:




                 Username: Maria Schneider
                 Email Address
                 Secondary Email Address
                 Phone:
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   hone: (9   ) 892 3 92

  URL of allegedly infringing video to be removed:
https://www.youtube.com/watch?v=4MfGR9AUd78
  Describe the work allegedly infringed: My original song

      Title of original song: Bird Count
      Where does the content appear? Entire video


  URL of allegedly infringing video to be removed:
https://www.youtube.com/watch?v=6RQ7PesFy0k
  Describe the work allegedly infringed: My original song

      Title of original song: Green Piece
      Where does the content appear? Entire video


  URL of allegedly infringing video to be removed:
https://www.youtube.com/watch?v=hVBbzKWVHeY
  Describe the work allegedly infringed: My original song

      Title of original song: Gumba Blue
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https://www.youtube.com/watch?v=pZsCfgHOCmA
  Describe the work allegedly infringed: My original song

      Title of original song: Dance You Monster To My Soft Song
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      I have a good faith belief that the use of the material in the manner
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      and
      This notification is accurate.
      I acknowledge that under Section 512(f) of the DMCA any person who
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  Authorized Signature: Maria Schneider

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